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AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                        Page 1 of      3       Pages



                                      UNITED STATES DISTRICT COURT                                                          FILED
                                                                      for the                                            Jan 24, 2022
                                                                                                                     CLERK, U.S. DISTRICT COURT

                                                           Eastern   District of   California                      EASTERN DISTRICT OF CALIFORNIA




                    United States of America                              )
                               v.                                         )
                                                                          )        Case No.         1:22-MJ-00012-SKO
                    BRIGIT MARIE BISSELL                                  )
                              Defendant                                   )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:              U.S. DISTRICT COURT EASTERN DISTRICT OF CALIFORNIA
                                                                                            Place
       2500 TULARE STREET, SUITE 1501, FRESNO CALIFORNIA 93721 or as advised by counsel.

      on                                                             02/01/2022 2:00 PM
                                                                         Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
 AO 199B (Rev. 09/08- Case   1:22-mj-00012-SKO
                      EDCA [Fresno])                            Document
                                     Additional Conditions of Release (General) 15     Filed 01/24/22 Page 2 of 3 Page 2 of                      3 Pages

 BISSELL, Brigit Marie
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                                              ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

      (6)       The defendant is placed in the custody of:

                   Name of person or organization             Madison Epiphany Dyer-Thornberry

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED: ________________________________
                                     CUSTODIAN
      (7)       The defendant must:
                (a) report to and comply with the rules and regulations of the Pretrial Services Agency;
                (b) report to the Pretrial Services Agency, in the Western District of Washington, on the first working day following
                     your release from custody;
                (c) reside at a location approved by the Pretrial Services Officer, and not move or absent yourself from this residence
                     for more than 24 hours without prior approval of Pretrial Services Officer;
                (d) restrict your travel to the Western District of Washington, and the Eastern District of California for Court
                     purposes only, unless otherwise approved in advance by the Pretrial Services Officer;
                (e) report any contact with law enforcement to your Pretrial Services Officer within 24 hours;
                (f) cooperate in the collection of a DNA sample;
                (g) not associate or have any contact with your co-defendant unless in the presence of counsel or otherwise approved
                     in advance by the Pretrial Services Officer;
                (h) seek and/or maintain employment and provide proof of same as requested by your Pretrial Services Officer;
                (i) not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                     dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                     currently under your control;
                (j) submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of the
                     costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
                (k) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                     prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                     prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
                (l) participate in a program of medical or psychiatric treatment including treatment for drug or alcohol dependency,
                     as approved by the Pretrial Services Officer; you must pay all or part of the costs of the counseling services based
                     upon your ability to pay, as determined by the Pretrial Services Officer;
                (m) surrender your passport to defense counsel, who will surrender it to the Clerk, United States District Court, and
                     you must not apply for or obtain a passport or any other travel documents during the pendency of this case;
                (n) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                     release, the following sum of money or designated property: A $10,000 cash bond posted by her stepfather, Mr.
                     Chris Greene.
                (o) participate in the following Location Monitoring program component and abide by all the requirements of the
                     program, which will include having a location monitoring unit installed in your residence and a radio frequency
                     transmitter device attached to your person. You must comply with all instructions for the use and operation of
                     said devices as given to you by the Pretrial Services Agency and employees of the monitoring company. You
                     must pay all or part of the costs of the program based upon your ability to pay as determined by the Pretrial
                     Services Officer. CURFEW: You are restricted to your residence every day from 6:00 p.m. to 6:00 a.m., or as
                     adjusted by the Pretrial Services office or supervising officer, for medical, religious services, employment or
                     court-ordered obligations;
                (p) Location Monitoring equipment to be installed upon arrival in the Western District of Washington; and,


                 USMS SPECIAL INSTRUCTIONS:
                (q)   have your release on bond delayed until the posting of the $10,000 cash bond.
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✔

    Jan 24, 2022

                                      Stanley A. Boone-United States Magistrate Judge
